                 UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MARK ALLEN RODDY,                          :
            Plaintiff                      :     CIVIL CASE NO:
                                           :
             v.                            :
                                           :     Jury Trial Demanded
RTI INTERNATIONAL,                         :
FORMERLY RESEARCH                          :
TRIANGLE INSTITUTE,                        :     Judge
             Defendant                     :

                                   COMPLAINT
      Mark Allen Roddy (“Plaintiff”), by and through his counsel, The Mazza
Law Group P.C., Joseph C. Korsak, Esq., Of Counsel, hereby makes claim against
RTI INTERNATIONAL, formerly Research Triangle Institute, (“Defendant”), of
which Plaintiff is a former employee, for harm caused to Plaintiff by Defendant’s
discriminatory and retaliatory actions, ultimately resulting in the termination of
Plaintiff’s employment. This action is brought under the Americans with
Disabilities Act, 42 U.S.C. §12101 et seq. (“ADA”) and the Pennsylvania Human
Relations Act, 43 P.S. §951 et seq. (“PHRA”).


                                 JURISDICTION
1.    The jurisdiction of the Court is proper pursuant to 28 U.S.C. §1331 as
Plaintiff’s claims are substantively based on the ADA. There is pendent
jurisdiction for the claim arising under the Pennsylvania Human Relations Act.
2.    Right to sue letters have been issued by the EEOC and the PaHRC. Both are
attached as Exh. A hereto.



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                                       VENUE
3.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1391 as a
substantial part of the events or omissions giving rise to Plaintiff’s claims occurred
in this judicial district.


                                      PARTIES
4.     Plaintiff is an adult individual residing at 318 S Gill St., State College,
 PA,. 16801.


5.     The Defendant, RTI International, (formerly Research Triangle Institute) is
an organization headquartered at the Research Triangle Park in North Carolina that
provides research and technical services to businesses. Its office is located at 3040
Corwallis, Research Triangle Park, North Carolina 27709. The Defendant employs
highly educated individuals throughout the Commonwealth of Pennsylvania.


                             STATEMENT OF FACTS
6.     Plaintiff was hired by the Defendant as a Senior Systems Administrator on
or about October 31, 2016.
7.     Plaintiff is disabled by a physical/mental impairment that substantially limits
one or more major life activities. He is otherwise qualified to perform the essential
functions of his job as a Senior Systems Administrator.
8.     Defendant has intentionally discriminated against Plaintiff because of his
disability.
9.     Plaintiff suffers from aphasia, substantially limiting his ability to speak,
think, and talk.
10.    Plaintiff notified the Defendant of his disability on the date of his interview,
on or about September 10, 2016.
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11.    Plaintiff requested reasonable accommodations on the day he was hired, on
or about October 31, 2016.
12.    The Defendant never honored the Plaintiff’s request for accommodation.
13.    On or about April 7, 2017, Plaintiff requested to Shannon Portier, Senior
Human Resource Manager at Research Triangle Institute, to have a reasonable
accommodation of written instructions outlining his assigned duties and to have
written copies of all conversations in writing.
14.    On or about April 7, 2017, Portier denied Plaintiff’s request.
15.    On or about May 2, 2017, Senior Manager Dennis Wolf reassigned
Plaintiff’s duties to another employee and did not communicate why to the
Plaintiff.
16.    For two weeks following the reassignment of Plaintiff’s duties, Plaintiff
reached out to Reginald Cooley, Plaintiff’s supervisor, several times and Cooley
ignored Plaintiff’s messages and when Cooley did respond, he evaded Plaintiff’s
questions about the accommodations and the reassignment of his duties.
17.    These interactions and lack thereof made Plaintiff feel anxious and lose
sleep, impacting his health and causing him to constantly worry about their six-
year-old son and what would happen to him.
18.    On or about May 18, 2017, Plaintiff complained about the harassment and
poor treatment he received from Cooley to Portier.
19.    Plaintiff was terminated on or about May 23, 2017 by Cooley.


                                    COUNT 1
                                      (ADA)
20.    Paragraphs 1 through 19 are incorporated herein by reference as though set
forth in full.



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21.    The actions of the Defendant, through its agents, servants, and employees, in
subjecting Plaintiff to discrimination based on his disability, ultimately resulting in
termination of Plaintiff’s employment, constituted a violation of the ADA.
22.    As a direct result of the aforesaid unlawful discriminatory employment
practices engaged in by the Defendant in violation of the ADA, Plaintiff sustained
harm resulting in the loss of his employment, causing him to sustain loss of
earnings, plus the value of employment benefits.


                                COUNT 2
                       (ADA—Reasonable Accommodation)
23.    Paragraphs 1 through 22 are incorporated herein by reference as though set
forth in full.
24.    On or about April 7, 2017, Plaintiff requested reasonable accommodation for
his disability from Portier.
25.    On or about April 7, 2017, Portier denied Plaintiff’s request for
accommodation for disability.
26.    Based upon the foregoing, it is alleged that the Defendant violated ADA.
27.    The Plaintiff prays that the Defendant be required to provide all appropriate
remedies under ADA.
                                    COUNT 3
                         (ADA—Removed From Duties)
28.    Paragraphs 1 through 27 are incorporated herein by reference as though set
forth in full.
29.    On or about May 2, 2017, Dennis Wolf, Senior Manager , reassigned
Plaintiff’s web/DB related projects to Amod Satgangi, no known disability.
30.    Defendant did not give Plaintiff a reason for reassigning Plaintiff’s duties.
31.    Based upon the foregoing, it is alleged that Defendant violated ADA.


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32.    Plaintiff prays that the Respondent be required to provide all appropriate
remedies under ADA.
                                    COUNT 4
                              (ADA—Retaliation)
33.    Paragraphs 1 through 32 are incorporated herein by reference as though set
forth in full.
34.    On or about May 2, 2017, Dennis Wolf reassigned Plaintiff’s web/DB
related projects to Amod Satgangi.
35.    Defendant’s actions are retaliatory because one month after Plaintiff
requested a reasonable accommodation, his duties were reassigned.
36.    Based upon the foregoing, it is alleged that Defendant violated ADA.
37.    The Plaintiff prays that the Defendant be required to provide all appropriate
remedies under ADA.


                                    COUNT 5
                               (ADA—Discharge)
38.    Paragraphs 1 through 37 are incorporated herein by reference as though set
forth in full.
39.    On or about April 7, 2017, Plaintiff requested a reasonable accommodation
for his disability to Shannon Portier, Senior Human Resource Manager.
40.    On or about May 23, 2017, Reginald Cooley, Plaintiff’s supervisor,
discharged Plaintiff.
41.    Defendant’s actions were retaliatory because six weeks after Plaintiff
requested a reasonable accommodation for his disability, Defendant discharged
him.
42.    Based upon the foregoing, it is alleged that Defendant violated ADA.
43.    The Plaintiff prays that the Defendant be required to provide all appropriate
remedies under ADA.

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                                      COUNT 6
                           (Reasonable Accommodation)
44.    Paragraphs 1 through 43 are incorporated herein by reference as though set
forth in full.
45.    On or about April 7, 2017, Plaintiff requested reasonable accommodation for
his disability from Portier.
46.    On or about April 7, 2017, Portier denied Plaintiff’s request for
accommodation for disability.
47.    Based upon the foregoing, it is alleged that the Defendant violated Section
5(a) of the Pennsylvania Human Relations Act 43 P.S. 951-963.
48.    The Plaintiff prays that the Defendant be required to provide all appropriate
remedies under §9 of PHRA.


                                    COUNT 7
                        (PHRA—Removed From Duties)
49.    Paragraphs 1 through 48 are incorporated herein by reference as though set
forth in full.
50.    On or about May 2, 2017, Dennis Wolf, Senior Manager, reassigned
Plaintiff’s web/DB related projects to Amod Satgangi, no known disability.
51.    Defendant did not give Plaintiff a reason for reassigning Plaintiff’s duties.
52.    Based upon the foregoing, it is alleged that Defendant violated Section 5(a)
of the Pennsylvania Human Relations Act 43 P.S. 951-963.
53.    The Plaintiff prays that the Defendant be required to provide all appropriate
remedies under §9 of PHRA.




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                                    COUNT 8
                             (PHRA—Retaliation)
54.    Paragraphs 1 through 53 are incorporated herein by reference as though set
forth in full.
55.    On or about May 2, 2017, Dennis Wolf reassigned Plaintiff’s web/DB
related projects to Amod Satgangi.
56.    Defendant’s actions are retaliatory because one month after Plaintiff
requested a reasonable accommodation, his duties were reassigned.
57.    Based upon the foregoing, it is alleged that Defendant violated Section 5(a)
of the Pennsylvania Human Relations Act 43 P.S. 951-963.
58.    The Plaintiff prays that the Defendant be required to provide all appropriate
remedies under §9 of PHRA.

                                    COUNT 9
                              (PHRA—Discharge)
59.    Paragraphs 1 through 58 are incorporated herein by reference as though set
forth in full.
60.    On or about April 7, 2017, Plaintiff requested a reasonable accommodation
for his disability to Shannon Portier, Senior Human Resource Manager.
61.    On or about May 23, 2017, Reginald Cooley, Plaintiff’s supervisor,
discharged Plaintiff.
62.    Defendant’s actions were retaliatory because six weeks after Plaintiff
requested a reasonable accommodation for his disability, Defendant discharged
him.
63.    Based upon the foregoing, it is alleged that Defendant violated Section 5(a)
of the Pennsylvania Human Relations Act 43 P.S. 951-963.
64.    The Plaintiff prays that the Defendant be required to provide all appropriate
remedies.

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                                   Respectfully submitted,




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